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               UNITED STATES DISTRICT COURT
                                         for the
                              Eastern District of Louisiana




                                           )
HIRAN RODRIGUEZ
_____________________________________ )          CIVIL ACTION NO. 2:25-CV-00197
               Plaintiff(s)                      SECTION: “A” (2)
                                                 DISTRICT JUDGE: JAY C. ZAINEY
                   v.                      )     MAG. JUDGE: DONNA PHILLIPS CURRAULT



                                           )
META PLATFORMS, INC., ET AL,
_________________________________________ )
              Defendant(s)


                                           )




SUPPLEMENTAL NOTICE OF DEFAULT AND JUDICIAL OBSTRUCTION UNDER

RULE 55(a)
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NOW INTO COURT, comes PLAINTIFF, HIRAN RODRIGUEZ, appearing sui juris, to give

supplemental judicial notice of:


1. Uncured Defaults by:


  - MARK ZUCKERBERG, who failed to plead or defend by March 27, 2025;


  - META PLATFORMS, INC., who failed to respond by their extended deadline of April 1,

2025;


2. Clerk’s Failure to Enter Default, despite a statutory obligation under Rule 55(a);


3. Improper Judicial Override and procedural obstruction evidenced by:


  - Rec. Doc. 117 (denial of default under stay);


  - Rec. Doc. 128 (denial of motion to vacate Clerk’s refusal).




LEGAL BASIS – RULE 55(a) IS MANDATORY



“When a party against whom a judgment for affirmative relief is sought has failed to
plead or otherwise defend, and that failure is shown by affidavit or otherwise, the
clerk must enter the party’s default.”




The word “must” renders this action non-discretionary. A judicial stay does not nullify the

Clerk’s ministerial obligation once default is triggered.




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JUDICIAL OBSTRUCTION ESTABLISHED . P. 55(a):




• The Clerk’s denial at Rec. Doc. 117 was explicitly “for Judge Zainey,” proving judicial

interference in a procedural duty.


• This violates the separation of powers, Fifth Amendment due process, and Rule 55’s

mandatory text.




PRESERVATION OF RIGHTS AND APPEALABILITY




PLAINTIFF preserves:


• Right to interlocutory appeal;


• Objection to all rulings made while default is unlawfully withheld;


• Standing to file a Judicial Misconduct Complaint under 28 U.S.C. § 351(a).




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Respectfully submitted,




/s/ Hiran Rodriguez


HIRAN RODRIGUEZ


Pro Se Plaintiff, sui juris


Dated: April 3, 2025




2. AFFIDAVIT OF PROCEDURAL STANDING AND PRESERVATION OF RIGHTS




I, HIRAN RODRIGUEZ, being of sound mind and lawful capacity, hereby affirm:


1. I am the PLAINTIFF in the matter of Rodriguez v. Meta Platforms, Inc., et al, Case No.

2:25-cv-00197 in the Eastern District of Louisiana;


2. I have perfected lawful service on multiple Defendants who failed to plead or defend within

required deadlines;


3. I submitted affidavits and filings consistent with Rule 55(a) of the Federal Rules of Civil

Procedure to secure entry of default;


4. The Clerk of Court, acting under judicial direction, denied my procedural right to default

without legal basis, violating a ministerial duty;
                                                                                                 4
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5. The Court’s stay order at Rec. Doc. 117 was improperly applied to obstruct a non-

discretionary procedural act;


6. I preserve all rights to:


  - Judicial review;


  - Mandamus;


  - Interlocutory appeal;


  - Disciplinary complaint under 28 U.S.C. § 351;


  - And any further lawful action necessary to enforce my rights;


7. I submit this affidavit as a matter of record, fact, and lawful notice to all parties and judicial

officers.




Executed this 3rd day of April, 2025


Under penalty of perjury pursuant to 28 U.S.C. § 1746




/s/ Hiran Rodriguez




HIRAN RODRIGUEZ


Pro Se Plaintiff, sui juris
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